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Ronald Shaw

04/28/2021

Dear Judge Fischer,




       Hello Judge Fischer, my name is Ronald Shaw, William Penn's youngest brother. I am writing to you
       today regarding William Penn. William is the oldest child out of 5 kids. He became a father at the age of
       16. William had to make a living for himself to take care of his family. He had a lot of pressure being
       the oldest child and a father. I really cannot tell you much about his childhood, but I can tell you that
       William is a wonderful father to his kids, an amazing person and loved everyone. William is not a bad
       guy at all. He has made some bad mistakes in his past. But I honestly say he is not a bad person at all.
       He knows he made some bad mistakes but, you cannot even compare the bad stuff to the good stuff that
       William has done. During the 8 years that William has spent behind bars, he was suffering from family
       deaths. When William came home after 8 years of being incarcerated, he immediately got a job being a
       dishwasher employee at a restaurant. Then he manages to attend construction while working and taking
       care of his children. Mostly every morning William will take a jitney to training. He will come pick me
       up and drop me off to school for my last couple weeks. He is one of the reasons I got to school on time
       and got my diploma. I am very proud of my brother. He accomplished many things that some cannot.
       Such as getting his GED, taking care of his children, doing construction, managing at least one are two
       jobs and currently planning he’s future Well-being behind bars.

William knows he made plenty of mistakes in the past. He also knows he would not do it again. I know William
has learned his lesson. I, Ronald Shaw, is asking you Judge Fischer, for less time that offer.



Sincerely,

Ronald Shaw




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                                                  Exhibit J
